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 5
     Attorney for Defendant, PHANH CHALENSOUK
 6
 7
 8
                       IN THE UNITED STATES DISTRICT COURT FOR THE
 9
                             EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )           CASE NO. 07-00268 OWW
                                   )
12             Plaintiff,          )           STIPULATION TO MODIFY PRETRIAL
                                   )           CONDITIONS OF RELEASE FOR
13   vs.                           )           PHANH CHALENSOUK AND ORDER
                                   )
14   PHANH CHALENSOUK              )
                                   )
15             Defendants.         )
                                   )
16   ______________________________)
17
18           On October 22, 2008, Defendant Phanh Chalensouk was ordered
19   released from detention on orders which included the surrender of
20   her passport.
21           The Social Security Administration has directed Ms.
22   Chalensouk to bring her original passport to their office for
23   viewing, to confirm that she has not recently left the country.
24   They have advised her if she fails to do so, they will shortly
25   terminate her monthly check, which is her only source of income.
26           Her Pretrial Service Officer, Mr. Monte Olson, has confirmed
27   that he delivered the passport to the U.S. Clerk and therefore,
28   has suggested that Ms. Chalensouk seek an order authorizing the


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 1   U.S. Clerk to return the passport to Ms. Chalensouk for a limited
 2   period of time.         All other conditions of release are to remain in
 3   effect.
 4           Assistant U.s. Attorney Laurel Montoya is not opposed to this
 5   request.
 6
     IT IS SO STIPULATED:
 7
     Dated: March 13, 2008             FLETCHER & FOGDERUDE, INC.
 8
 9                                      /s/ Eric K. Fogderude
                                       Eric K. Fogderude
10                                     Attorney for Defendant,
                                       PHANH CHALENSOUK
11
12
13   DATED: March 13, 2008             UNITED STATES ATTORNEY OFFICE
14
                                        /s/ Laurel Montoya
15                                     Laurel Montoya, Assistant US Attorney
16
17                                        ORDER
18           GOOD CAUSE APPEARING, it is ordered that the United States
19   District Court Clerk, For the Eastern District of California
20   release to Defendant, Phanh Chalensouk her original passport.
21   Defendant, Phanh Chalensouk is ordered to return it to
22   the Clerk’s office within 72 hours after she receives the passport
23   from the Clerk.         Defendant Phanh Chalensouk shall not use the
24   passport to travel or for any other purpose.
25
     IT IS SO ORDERED.
26
     Dated: March 13, 2008                    /s/ Oliver W. Wanger
27   emm0d6                              UNITED STATES DISTRICT JUDGE
28


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